        Case 1:10-cr-00182-BLW Document 339 Filed 02/11/11 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 1:10-cr-182-BLW-13

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
NABOR MARTINEZ-HERRERA,

              Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 322). On January 24, 2011, Defendant Nabor Martinez-Herrera

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s admission to forfeiture and plea of guilty to the charges

contained in Count One of the First Superseding Indictment (Dkt. 117), and that it was

entered voluntarily and with full knowledge of the consequences. No objections to the

Report and Recommendation have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the



ORDER ADOPTING REPORT AND RECOMMENDATION - 1
         Case 1:10-cr-00182-BLW Document 339 Filed 02/11/11 Page 2 of 2




result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,

        NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 322) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

        IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Count One of the First Superseding Indictment (Dkt. 117), shall be, and the

same is hereby, ACCEPTED by the Court as a knowing and voluntary plea supported by

an independent basis in fact containing each of the essential elements of the offense.

        IT IS FURTHER ORDERED that Defendant Nabor Martinez-Herrera is found to

be GUILTY as to the applicable crimes charged in the First Superseding Indictment (Dkt.

117).

                                          DATED: February 11, 2011




                                          B. LYNN WINMILL
                                          Chief U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
